                                                    RP-2021-391418
                      Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 1 of 28
                                                                                        ER      $122.00




                 WHEN      RECORDED, RETURN TO:

                 DLP Income & Growth Fund I, LLC
                 605 Palencia Club Drive
                 St. Augustine, Florida 32095
                                                                                           FILED BY
                 Loan No. 1G2301COM
                                                                                      ELITY NATIONAL TITLE
                 Property ID No.: 370310000016, 0082660000002, and
                 0180190000008
                                                                                                  56
                                                                                         FAH2.1609¢
                 NOTICE OF CONFIDENTIALITY RIGHTS: IFY    ARE A NATURAL PERSON, YOU
                 MAY REMOVE OR STRIKE ANY OR        OF THE FOLLOWING INFORMATION
                 FROM ANY INSTRUMENT THAT TRA             INTEREST IN REAL PROPERTY
                 BEFORE IT IS FILED FOR RECORD IN        BLIC RECORDS: YOUR SOCIAL
                 SECURITY NUMBER OR YOUR DRIVER'S    LIC SE NUMBER

                                 DEED OF TRUST, ASSIGNME                           ES AND RENTS, FIXTURE
                                             FILING, AND S                          REEMENT
                                                         (Construction

                  Note Amount:                  $11,000,000.00
                  Property Addresses:           2301 Commonweal                   ston, Texas 77006
                                                239 Emerson Stree                 xas 77006
                                                417 West Main Str      Houston,   Texas 77006
RP-2021-391418




                                                         UNIFOR

                          This Deed of Trust, Assignment of L
                 “Security Instrument” or “Deed of Trust”) is                July          , 2021, among Montrose Multifamily
                 Members, LLC, a Texas limited liability                      “Borrower”), whose address is 4203 Montrose
                 Boulevard, Suite 400, Houston, Texas 770                         orp. d/b/a Total Lender Solutions, as trustee
                 (“Trustee”) whose address is 5900 Balcone            ive, Suite 100, Austin, TX 78731; and DLP Income &
                 Growth Fund I, LLC, as beneficiary (“Lende          whose address is 605 Palencia Club Drive, St. Augustine,
                 Florida 32095.

                 TRANSFER OF RIGHTS               IN THE PROPERTY

                           To secure the full and timely paymen          ndebtedness and the full and timely performance and
                 discharge of the Obligations, Borrower GR                     AINS, SELLS, AND CONVEYS to Trustee the
                 Mortgaged Property, with power of sale an                    , subject only to the Permitted Encumbrances, to
                 have and to hold the Mortgaged Property to                   cessors in trust, and the Trustee’s assigns forever,
                 and Borrower does hereby bind itself, its suc               its assigns to warrant and forever defend the title
                 to the Mortgaged Property to Trustee ag                       wfully claiming it or any part of it; provided,
                 however, that if the Indebtedness is paid in                n it becomes due and payable and the Obligations
                 are performed on or before the date they a                  formed and discharged, then the liens, security
                 interests, estates, and rights granted by the           uments shall terminate; otherwise, they shall remain
                 in full force and effect. As additional secu               ill and timely payment of the Indebtedness and the
                 full and timely performance and discharge of               tions, Borrower grants to Lender a security interest


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                 Deed of Trust | Loan No. 1G2301COM                                                     Borrower's Initials:


                                                                                                        EXHIBIT 24
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 2 of 28




                 in the Personalty, Fixtures, Leases, and Rents under Article Nine of the Uniform Commercial Code in effect
                 in the state where the Mortgaged Property is located. Borrower further grants, bargains, conveys, assigns,
                 transfers, and sets over to Trustee, acting as both a trustee and an agent for Lender under this Security
                 Instrument,   a security interest in and to all of Borrower’s   right, title, and interest in, to, and under the
                 Personalty, Fixtures, Leases, Rents, and Mortgaged Property (to the extent characterized as personal
                 property) to secure the full and timely payment of the Indebtedness and the full and timely performance
                 and discharge of the Obligations.
                            Borrower agrees to execute and deliver, from time to time, such further instruments, including, but
                   ot limited to, security agreements, assignments, and UCC financing statements, as may be requested by
                 Lender to confirm the lien of this Security Instrument on any of the Mortgaged Property. Borrower further
                 irrevocably    grants, transfers, and assigns to Lender the Rents. This assignment of Rents is to be effective
                                resent security interest in existing and future Rents of the Mortgaged Property.
                                      NTAIN AND PROTECT THE SECURITY OF THIS SECURITY INSTRUMENT, TO
                                       ULL AND TIMELY PERFORMANCE BY BORROWER OF EACH AND EVERY

                                               S ADDITIONAL CONSIDERATION FOR THE INDEBTEDNESS AND
                                               CED BY THE LOAN DOCUMENTS, BORROWER HEREBY COVENANTS,
                                               REES AS FOLLOWS:

                 DEFINITIONS.

                 1.       Definitions. For purposes              Irity Instrument, each of the following terms shall have the
                 following respective meanings:
                          1.1      “Attorneys’ Fees.                     orney fees (including the allocated cost of in-house
                 counsel), paralegal, and law clerk fi                           out limitation, fees for advice, negotiation,
RP-2021-391418




                 consultation, arbitration, and litigation                      , and appellate levels, and in any bankruptcy
                 proceedings, and attorney costs and expense                            Lender in protecting its interests in the
                 Mortgaged Property, including, but not limited                         aste, and enforcing its rights under this
                 Security Instrument.
                          1.2      “Borrower.”
                                   1.2.1.  The named Borrower in this Security Inst
                                   1.2.2.  The obligor under the Note, whether
                 Instrument; and
                                    1.2.3.   Subject to any limitations of assignment as p
                 the heirs, legatees, devisees, administrators, executors, successors in
                 and the assigns of any such person.
                                  All references to Borrower in the remainder of the Loan Docu
                 under the Note.
                          1.3     “Event of Default.” An Event of Default as defined in the Loan Agree
                          1.4     “Fixtures.” All right, title, and interest of Borrower in and to all 1
                 equipment, apparatus, and other items now or later attached to, installed on or in the
                 Improvements, or that in some fashion are deemed to be fixtures to the Land or Improvements u
                 laws of the state where the Mortgaged Property is located, including the Uniform Commercia
                 “Fixtures” includes, without limitation, all items of Personalty to the extent that they may be dee
                 Fixtures under Governmental Requirements.
                           1.5     “Governmental Authority.” Any and all courts, boards, agencies, commissions, offices,
                 or authorities of any nature whatsoever for any governmental unit (federal, state, county, district, municipal,
                 city, or otherwise) whether now or later in existence.
                           1.6     “Governmental    Requirements.” Any           and   all   laws,   statutes,   codes,    ordinances,
                 regulations, enactments, decrees, judgments, and orders of any Governmental Authority.



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                 Deed of Trust | Loan No. 1G2301COM                                                         Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 3 of 28




                          1.7      “Impositions.” All real estate and personal property taxes, water, gas, sewer, electricity,
                 and other utility rates and charges; charges imposed under any subdivision, planned unit development, or
                 condominium declaration or restrictions; charges for any easement, license, or agreement maintained for
                 the benefit of the Mortgaged Property, and all other taxes, charges, and assessments and any interest, costs,
                 or penalties of any kind and nature that at any time before or after the execution of this Security Instrument
                 may be assessed, levied, or imposed on the Mortgaged Property or on its ownership, use, occupancy, or
                 enjoyment.
                           1.8     “Improvements.”        Any and all buildings, structures, improvements, fixtures, and
                 appurtenances now and later placed on the Mortgaged Property, including, without limitation, all apparatus
                 and equipment, whether or not physically affixed to the land or any building, which is used to provide or
                 supply air cooling, air conditioning, heat, gas, water, light, power, refrigeration, ventilation, laundry, drying,
                 dish washing, garbage disposal, or other services; and all elevators, escalators, and related machinery and
                     ipment, fire prevention and extinguishing apparatus, security and access control apparatus, partitions,
                                  sors, plumbing, ovens, refrigerators, dishwashers, disposals, washers, dryers, awnings, storm
                                     doors, screens, blinds, shades, curtains, curtain rods, mirrors, cabinets, paneling, rugs,

                                              , and trees and plants located on the Mortgaged Property, all of which, including
                                               ns, shall conclusively be deemed to be affixed to and be part of the Mortgaged
                                              istee under this Security Instrument.

                 under or evidenced by the following
                                   1.9.1.   The Note (i            without limitation, the prepayment premium, late payment,
                 and other charges payable under tl
                                   1.9.2.   The Loa
                                   1.9.3.   This Security 1                    ther Loan Documents;
RP-2021-391418




                                   1.9.4.   All funds later                           or for the benefit of Borrower under any
                 provision of any of the Loan Documents;
                                   1.9.5.   Any future loans or am                            er to Borrower when evidenced by
                 a written instrument or document that specifically recite                      ons evidenced by such document
                 are secured by the terms of this Security Instrument, inc
                 the security or priority of the Security Instrument; and
                                   1.9.6.   Any amendment, modification, extensi
                 substitution, or replacement of any of the foregoing.
                           1.10    “Land.” The real estate or any interest in it describe                         tached to this
                 Security Instrument and made a part of it, together with all Improvements and                             titles,
                 and interests appurtenant to it.
                          1.11      “Leases.”    Any   and      all   leases,   subleases,   licenses,   concessions,
                 (written or verbal, now or later in effect) that grant a possessory interest in and to, or th
                 mine, reside in, sell, or use the Mortgaged Property, and all other agreements, including, but no
                 utility contracts, maintenance agreements, and service contracts that in any way relate to the use, occu
                 operation, maintenance, enjoyment, or ownership of the Mortgaged Property, except any and all
                 subleases, or other agreements under which Borrower is granted a possessory interest in the Land.
                           1.12     “Lender.” The named Lender in this Security Instrument and the owner and holder
                 (including a pledgee) of any Note, Indebtedness, or Obligations secured by this Security Instrument,
                 whether or not named as Lender in this Security Instrument, and the heirs, legatees, devisees,
                 administrators, executors, successors, and assigns of any such person.
                           1.13     “Loan.” The extension of credit made by Lender to Borrower under the terms of the Loan
                 Documents.




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                 Deed of Trust | Loan No. IG2301COM                                                                 Borrower's Initials:   & 5
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 4 of 28




                          1.14    “Loan Agreement.”         Tl             Security Agreement given by Borrower evidencing the
                 Loan, in such form as is acceptable          t                pether with any and all rearrangements,            extensions,
                 renewals, substitutions, replacements,      n                    statements, and amendments thereto.
                          1.15    “Loan Documents.”            Col                 this Security Instrument, the Note, and all other
                 instruments and agreements required        to by                    Borrower or any guarantor in connection with the
                 Loan.
                          1.16      “Mortgaged Property.”                           Improvements,     Fixtures,   Personalty,    Leases,      and
                 Rents that is described as follows:

                 SEE EXHIBIT “A” ATTACHED               HERE                       DE A PART HEREOF,

                 commonly known as:           2301 Commonweal             reet, Houston, Texas 77006
                                              Property ID No.:       370310000016
                                              239 Emerson Street, Houston, Texas 77006
                                              Property ID No.:       0082660000002
                                              417 West Main Street, Houston, Texas 77006
                                              Property ID No.:       0180190


                 together with:
                                    1.16.1. All right, title, and ir                   ding any claim or demand or demand in law or
                 cquity) that Borrower now has or may later                        r to such Mortgaged Property, all casements, rights,
                 privileges, tenements, hereditaments, and                              belonging or in any way appertaining to the
                 Mortgaged Property; all of the estate, right, title,                   t, claim,   demand,   reversion,   or remainder         of
                 Borrower in or to the Mortgaged Property, ei                          in equity, in possession or expectancy, now or
RP-2021-391418




                 later acquired; all crops growing or to be                           Mortgaged Property; all development rights or
                 credits and air rights; all water and water rig
                 shares of stock pertaining to such water or w                          ership of which affects the Mortgaged Property;
                 all minerals, oil, gas, and other hydrocarb                             and rights thereto in, on, under, or upon the
                 Mortgaged Property and all royalties and pr                            uch rights or shares of stock; all right, title, and
                 interest of Borrower in and to any streets, wa                         ips, or gores of land adjoining the Land or any
                 part of it that Borrower now owns or at any tim:                    quires and all adjacent lands within enclosures or
                 occupied by buildings partly situated on the
                                    1.16.2. All intangible Mortg
                 or its operation or used in connection with
                 specifications, construction contracts, subcont               i         osits for utility services, installations, refunds
                 due Borrower, trade names, trademarks, and servi
                                    1.16.3. All of the right, title,               est of Borrower in and to the land lying in the bed
                 of any street, road, highway, or avenue in fro                     joining the Land;
                                    1.16.4. Any and all awards                             e or later to be made by any Governmental
                 Authority to the present and all subsequent                       f the Mortgaged Property that may be made with
                 respect to the Mortgaged Property as a result                      reise of the right of eminent domain, the alteration
                 of the grade of any street, or any other injury                            of value of the Mortgaged Property, which
                 award or awards are assigned to Lender and                             ption, is authorized, directed, and empowered
                 to collect and receive the proceeds of any such                         ards from the authorities making them and to
                 give proper receipts and acquittances for them;
                                    1.16.5. All certificates of de                         wer in Lender’s possession and all bank
                 accounts of Borrower with Lender and their pro                           deposits of Borrower with any Governmental
                 Authority and/or public utility company that rel                           rship of the Mortgaged Property;




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                 Deed of Trust | Loan No. IG2301COM                                                               Borrower's Initials:    ©
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 5 of 28




                                    1.16.6.    All Leases of the Mortgaged Property or any part of it now or later entered into
                 and all right, title, and interest of Borrower under such Leases, including cash or securities deposited by the
                 tenants to secure performance of their obligations under such Leases (whether such cash or securities are
                 to be held until the expiration of the terms of such Leases or applied to one or more of the installments of
                 rent coming due immediately before the expiration of such terms), all rights to all insurance proceeds and
                 unearned insurance premiums arising from or relating to the Mortgaged Property, all other rights and
                 cascments of Borrower now or later existing pertaining to the use and enjoyment of the Mortgaged Property,
                 and all right, title, and interest of Borrower in and to all declarations of covenants, conditions, and
                 restrictions as may affect or otherwise relate to the Mortgaged Property;
                                   1.16.7. Any and all proceeds of any insurance policies covering the Mortgaged Property
                 whether or not such insurance policies were required by Lender as a condition of making the loan se
                 by this Security Instrument or are required to be maintained by Borrower as provided below in thi
                 Instrument; which proceeds are assigned to Lender, and Lender, at its option, is authorize
                 empowered to collect and receive the proceeds of such insurance policies from the insurer:
                 and to give proper receipts and acquittances for such policies, and to apply the sam
                                   1.16.8. If the Mortgaged Property includes a leasehold estate, all of
                 and interest in and to the lease, more particularly described in Exhibit
                 Instrument (the Leasehold) including, without limitation, the right to surrend
                 change, supplement, grant subleases of, alter, or amend the Leasehold;
                                   1.16.9. All plans and specifications for the Impr                      acts and subcontracts
                 relating to the Improvements; all deposits (including tenants’ se                        ided, however, that if
                 Lender acquires possession or control of tenants’ securit           i            hall use the tenants’ security
                                                                                                  ds, accounts, contract rights,
                 instruments, documents, general intangibles, and                       perarising from or in connection with
                 the Mortgaged Property; all permits, licenses                          her rights and privileges obtained in
RP-2021-391418




                 connection with the Mortgaged Property;             E              ngineering reports, land planning maps,
                 drawings, construction contracts, notes,                       ngineering and architectural drawings, letters


                                                                    provements and all amendments and modifications; all
                 proceeds arising from or by virtue of theisale, lease, grant of option, or other disposition of all or any part
                 of the Mortgaged Property (consent to same is not granted or implied); and all proceeds (including premium
                 refunds) payabl          payable under each insurance policy relating to the Mortgaged Property;
                                                 1] trade names, trademarks, symbols,      service marks, and goodwill       associated
                                                 ty and any and all state and federal applications and registrations now or later
                                                  use or operation of the Mortgaged Property;
                                       6.11.    All tax refunds, bills, notes, inventories, accounts and charges receivable, credits,
                                      , and documents of all kinds, and all instruments, contract rights, general intangibles,
                               eposits, and all proceeds and products of the Mortgaged Property;
                                     1.16.12. All money or other personal property of Borrower (including, without limitation,
                    y istrument, deposit account, general intangible, or chattel paper, as defined in the Uniform Commercial
                      ¢) previously or later delivered to, deposited with, or that otherwise comes into Lender’s possession;
                                  1.16.13. All      accounts,   contract   rights,
                                                                                 chattel paper, documents, instruments, books,
                 records, claims against third     parties, money, securities, drafts, notes, proceeds, and other items relating to
                 the Mortgaged Property;
                                  1.16.14. All     construction, supply, engineering, and architectural contracts executed and to
                 be executed by Borrower for       the construction of the Improvements; and
                                  1.16.15. All     proceeds of any of the foregoing.




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                 Deed of Trust | Loan No. IG2301COM                                                         Borrower's Initials:
                      Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 6 of 28




                                     As used in this Security Instrument, “Mortgaged Property                      defined as meaning
                 all or, when the context permits or requires, any portion of it and all or, w;                    permits or requires,
                 any interest in it.
                           1.17      “Note.” The Secured Note payable by Borrower to                            ender in the principal
                 amount of Eleven Million and 00/100 Dollars ($11,000,000.00),               A               res on August      1, 2022,
                 evidencing the Loan, in such form as is acceptable to Lender, tog                             and all rearrangements,
                 extensions, renewals, substitutions, replacements, modifications,                            and amendments to the
                 Secured Note.
                           1.18    “Obligations.” Any and all of the covenants,                            representations, and other
                 obligations (other than to repay the Indebtedness) made or undertak                      ower to Lender or Trustee as
                 set forth in the Loan Documents; any lease, sublease, or other agree                 er which Borrower is granted
                 a possessory interest in the Land; each obligation, coven                            ent of Borrower      in the Loan
                 Documents or in any other document executed by Borrower 1                           with the loan(s) secured by this
                 Security Instrument whether set forth in or incorporated into th                 ocuments by reference; each and
                 every monetary provision of all covenants, conditions, and restr                  any, pertaining to the Mortgaged
                                                                              vy Borrower        of any covenant by third parties to
                 pay maintenance or other charges, if they have not b                     d       legal steps taken to enforce such
                 payment within 90 days after such written request is ma            |
                 a leasehold estate, each obligation, covenant, and agreement of B
                 instrument(s) creating any such leasehold; all agree                       wer to pay fees and charges to Lender
                                                                                          as allowed by law, when they are made
                 for any statement regarding the obligations secured                     ty Instrument.
                                  The Obligations specifically exc                   gronmental Indemnity Agreement dated the

                 by this Security Instrument.
RP-2021-391418




                          1.19      “Permitted Encumbrances.                           ar time, (a) liens for taxes, assessments, or
                 governmental charges not then due and paya                        clinquent; (b) liens, easements, encumbrances,
                 and restrictions on the Mortgaged Property th             llowed by Lender to appear in Schedule B, with Parts
                 [ and IT of an TLTA title policy to be issued                 following recordation of the Security Instrument;
                 and (c) liens in favor of or consented to i
                          1.20     “Person.” Natural pers          orporations, partnerships, unincorporated associations, joint
                 ventures, and any other form of legal ¢
                          1.21     “Personalty.” All of
                 intangible personal property, whether ew owned or later acquired by Borrower, including, but not limited
                 to, water rights (to the extent they may constitute personal property), all equipment, inventory, goods,
                 consumer goods, accounts, chattel paper, instruments, money, general intangibles, letter-of-credit rights,
                 deposit accounts, investment property, documents, minerals, crops, and timber (as those terms are defined
                 in the Uniform Commercial Code) and that are now or at any later time located on, attached to, installed,
                 placed, used on, in connection wi        - are required for such attachment, installation, placement, or use on
                 the Land, the Improvements, E                   n other goods located on the Land or Improvements, together

                 extensions, renewals, and enlargements anid proceeds of the Land or Improvements, substitutions for, and
                 income and profits from, t                         ovements. The Personalty includes, but is not limited to, all
                 goods, machinery, tools,                       luding fire sprinklers and alarm systems); building materials, air
                 conditioning, heating, refi
                 extermination of vermin or
                 repair equipment; office              'e      luding tables, chairs, planters, desks, sofas, shelves, lockers, and
                 cabinets); safes, furnishings
                 and incinerators); rugs,        cal
                 window shades, venetian                    urtains, other window   coverings;   lamps,    chandeliers,   other lighting



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                 Deed of Trust | Loan No. IG23                                                                Borrower's Initials:
                      Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 7 of 28




                 fixtures; office maintenance and other supplies; loan commitments, financing arrangements, bonds,
                 construction contracts, leases, tenants’ security deposits, licenses, permits, sales contracts, option contracts,
                 lease contracts, insurance policies, proceeds from policies, plans, specifications, surveys, books, records,
                 funds, bank deposits; and all other intangible personal property. Personalty also includes any other portion
                 or items of the Mortgaged Property that constitute personal property under the Uniform Commercial Code.
                            1.22   “Rents.”    All rents, issues, revenues,   income,   proceeds,   royalties, profits, license fees,
                 prepaid municipal and utility fees, bonds, and other benefits to which Borrower or the record title owner of
                 the Mortgaged Property may now or later be entitled from or which are derived from the Mortgaged
                 Property, including, without limitation, sale proceeds of the Mortgaged Property; any room or space sales
                 or rentals from the Mortgaged Property; and other benefits paid or payable for using, leasing, licensing,
                 possessing, operating from or in, residing in, selling, mining, extracting, or otherwise enjoying or using the
                 Mortgaged Property.
                           1.23        “Uniform Commercial Code.” The uniform commercial code as found in the statutes of
                            in which the Mortgaged Property is located.
                                      “Water Rights.” All water rights of whatever kind or character, surface or underground,
                                   ecreed, or vested, that are appurtenant to the Mortgaged Property or otherwise used or useful
                                    i       intended development of the Mortgaged Property.




                 2.                                                                      Borrower shall (a) keep the Mortgaged
                 Property in good condition and tepa                          miially alter, remove, or demolish the Mortgaged
                 Property    or any of the Improvements                          ent to the replacement    of Fixtures, equipment,
RP-2021-391418




                                                                                        d repair to the equivalent of its original
                 condition all or any part of the Mortgaged Prop                               ed or destroyed, including, but not
                 limited to, damage from termites and dry rot, soi


                 Instrument; (d) pay when due all claims for labor performed and materials furnish
                 Mortgaged Property and not permit any mechanics’ or materialman’s lien to ari            i           ortgaged
                 Property or furnish a loss or liability bond against such mechanics’ or materialm
                 with all laws affecting the Mortgaged Property or requiring that any alterations,
                 improvements be made on it; (f) not commit or permit waste on or to the Mortgaged Pro
                 suffer, or permit any act or violation of law to occur on it; (g) not abandon the Mortga
                 cultivate, irrigate, fertilize, fumigate, and prune in accordance with prudent agricultural pract
                 required by Lender, provide for management satisfactory to Lender under a management contract approved
                 by Lender; (j) notify Lender in writing of any condition at or on the Mortgaged Property that may have
                 significant and measurable effect on its market value; (k) if the Mortgaged Property is rental property,
                 generally operate and maintain it in such manner as to realize its maximum rental potential; and (1) do all
                 other things that the character or use of the Mortgaged Property may reasonably render necessary to
                 maintain it in the same condition (reasonable wear and tear expected) as existed at the date of this Security
                 Instrument.
                 3.        Use of Mortgaged Property. Unless otherwise required by Governmental Requirements or unless
                 Lender otherwise provides prior written consent, Borrower shall not change, nor allow changes in, the use
                 of the Mortgaged Property from the current use of the Mortgaged Property as of the date of this Security
                 Instrument.     Borrower shall not initiate or acquiesce in a change in the zoning classification of the
                 Mortgaged Property without Lender’s prior written consent.
                 4,         Condemnation and Insurance Proceeds.


                                                                          7
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                 Deed of Trust | Loan No. 1G2301COM                                                         Borrower's Initials:   =—=5
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 8 of 28




                           4.1     Assignment to Lender. The proceeds of any award or claim for damages, direct or
                 consequential, in connection with any condemnation or other taking of or damage or injury to the
                 Mortgaged Property, or any part of it, or for conveyance in lieu of condemnation, are assigned to and shall
                 be paid to Lender, regardless of whether Lender’s security is impaired. All causes of action, whether
                 accrued before or after the date of this Security Instrument, of all types for damages or injury to the
                 Mortgaged Property or any part of it, or in connection with any transaction financed by funds lent to
                 Borrower by Lender and secured by this Security Instrument, or in connection with or affecting the
                 Mortgaged Property or any part of it, including, without limitation, causes of action arising in tort or contract
                 or in equity, are assigned to Lender as additional security, and the proceeds shall be paid to Lender. Lender,
                 at ifs option, may appear in and prosecute in its own name any action or proceeding to enforce any such
                 cause of action and may make any compromise or settlement of such action. Borrower shall notify Lender
                 in writing immediately on obtaining knowledge of any casualty damage to the Mortgaged Property or
                 damage in any other manner in excess of $2,000.00 or knowledge of the institution of any proceeding
                 relating to condemnation or other taking of or damage or injury to all or any portion of the Mortgaged
                 Property. Lender, in its sole and absolute discretion, may participate in any such proceedings and may join
                 Borrower in adjusting any loss covered by insurance. Borrower covenants and agrees with Lender, at
                 Lender’s request, to make, execute, and deliver, at Borrower’s expense, any and all assignments and other
                 instruments sufficient for the purpose of assigning the aforesaid award or awards, causes of action, or claims
                 of damages or proceeds to Lender free, clear, and discharged of any and all encumbrances of any kind or
                 nature.
                          4.2      Insurance Payments.          All compensation, awards, proceeds, damages, claims, insurance
                 recoveries, rights of action, and payments that Borrower may receive or to which Lender may                    bec
                 entitled with respect to the Mortgaged Property if any damage or injury occurs to the Mo
                 other than by a partial condemnation or other par
                 to Lender and shall be applied firs
RP-2021-391418




                      1 Doctiments): (a) Borrower is not in default under any of the terms, covenants, and conditions of the
                 Loan Documents; (b) all then-existing Leases affected in any way by such damage will continue in full
                 force and effect; (c) Lender is satisfied that the insurance or award proceeds, plus any sums added by
                 Borrower, shall be sufficient to fully restore and rebuild the Mortgaged Property under then current
                 Governmental Requirements; (d) within 60 days after the damage to the Mortgaged Property, Borrower
                 presents to Lender a restoration plan satisfactory to Lender and any local planning department, which
                 includes cost estimates and schedules; (¢) construction and completion of restoration and rebuilding of the
                 Mortgaged Property shall be completed in accordance with plans and specifications and drawings submitted
                 to Lender within 30 days after receipt by Lender of the restoration plan and thereafter approved by Lender,
                 which plans, specifications, and drawings shall not be substantially modified, changed, or revised without
                 Lender’s prior written consent; (f) within 3 months after such damage, Borrower and a licensed contractor
                 satisfactory to Lender enter into a fixed price or guaranteed maximum price contract satisfactory to Lender,
                 providing for complete restoration in accordance with such restoration plan for an amount not to exceed the
                 amount of funds held or to be held by Lender; (g) all restoration of the Improvements so damaged or
                 destroyed shall be made with reasonable promptness and shall be of a value at least equal to the value of
                 the Improvements so damaged or destroyed before such damage or destruction; (h) Lender reasonably
                 determines that there is an identified source (whether from income from the Mortgaged Property, rental
                 loss insurance, or another source) sufficient to pay all debt service and operating expenses of the Mortgaged
                 Property during its restoration as required above; and (i) any and all funds that are made available for
                 restoration and rebuilding under this Section shall be disbursed, at Lender’s sole and absolute discretion to
                 Lender, through Lender, the Trustee, or a title insurance or trust company           satisfactory to Lender, in



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                 Deed of Trust | Loan No. 1G2301COM                                                      Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 9 of 28




                 accordance with standard construction lending practices, including a reasonable fee payable to Lender from
                 such funds and, if Lender requests, mechanics’ lien waivers and title insurance date-downs, and the
                 provision of payment and performance bonds by Borrower, or in any other manner approved by Lender in
                 Lender's sole and absolute discretion; or
                                   4.2.2.  If fewer than all conditions (a) through (i) above are satisfied, then such payments
                 shall be applied in the sole and absolute discretion of Lender (a) to the payment or prepayment, with any
                    plicable prepayment premium, of any Indebtedness secured by this Security Instrument in such order as
                   ender may determine, or (b) to the reimbursement of Borrower's expenses incurred in the rebuilding and
                 restoration of the Mortgaged Property. If Lender elects under this Section to make any funds available to
                                ortgaged Property, then all of conditions (a) through (i) above shall apply, except for such
                                  Lender, in its sole and absolute discretion, may waive.




                 taking of the Mortgaged Property sha            aid over to Lender and shall be applied first to reimbursement
                 of all Lender’s costs and expenses i               ction with their recovery, and shall then be applied to the

                 until the Indebtedness secured b                            ment has been paid and satisfied in full. Any surplus
                                                                                 ness secured by this Security Instrument shall be
                 paid to Borrower as its interest may the
RP-2021-391418




                          4.5    Partial Condemnation                    ,          pensation, awards, proceeds, damages, claims,

                 Borrower may become entitled with respect                       -    d Property in the event of a partial
                 condemnation or other partial taking of the Mortgages                       s Borrower and Lender otherwise
                 agree in writing, shall be divided into two portions,                         cipal balance of the Note at the
                 time of receipt of such funds and the other equal to the amount by               ch funds exceed the principal
                 balance of the Note at the time of receipt of such funds. The             portion shall be applied to the sums
                 secured by this Security Instrument, whether or not then due, inc         but     not limated to principal, accrued
                 interest, and advances, and in such order or combination as Lender                          with the balance of the
                 funds paid to Borrower.
                           4.6     Cure of Waiver of Default. Any application of such a                               on of it to any
                 Indebtedness secured by this Security Instrument shall not be construed to
                 notice of default under this Security Instrument or invalidate any act done und
                 s.        Taxes and Other Sums Due.           Borrower shall promptly pay, satisfy
                 Impositions affecting the Mortgaged Property before they become delinquent; (b) s
                 chargeable against Borrower or the Mortgaged Property, as Lender reasonably deems
                 and preserve the Mortgaged Property, this Security Instrument, or Lender’s security for the p ;
                 the Obligations; (c¢) all encumbrances, charges, and liens on the Mortgaged Property, with intéres
                 in Lender’s judgment are, or appear to be, prior or superior to the lien of this Security Instrum
                 costs necessary to obtain protection against such lien or charge by title insurance endorsement or
                 company bond; (d) such other charges as Lender deems reasonable for services rendered by Lender a
                 Borrower’s request; and (e) all costs, fees, and expenses incurred by Lender in connection with this Security
                 Instrument, whether or not specified in this Security instrument.
                           On Lender’s request, Borrower shall promptly furnish Lender with all notices of sums due for any
                 amounts specified in the preceding clauses 5(a) through (¢), and, on payment, with written evidence of such



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                 Deed of Trust | Loan No. 1G2301COM                                                        Borrower's Initials:
                    Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 10 of 28




                 payment. If Borrower fails to promptly make any payment required under this Section, Lender may (b
                 not obligated to) make such payment. Borrower shall notify Lender immediately on receipt by Borr
                 of notice of any increase in the assessed value of the Mortgaged Property and agrees that Lende
                 Borrower’s name, may (but is not obligated to) contest by appropriate proceedings such ir
                 assessment. Without Lender’s prior written consent, Borrower shall not allow any lien infer
                 of this Security Instrument to be perfected against the Mortgaged Property and shall nt
                 improvement bond for any unpaid special assessment to issue.
                 6.       Leases of Mortgaged Property by Borrower. At Lender’s request, Borrowe
                 with executed copies of all Leases of the Mortgaged Property or any portion of it thes
                 so requires, all Leases later entered into by Borrower are subject to Lender’s prior
                 must be acceptable to Lender in form and content. Each Lease must specifically
                 it is subordinate to the lien of this Security Instrument; (b) the tenant attorns to       {and Borrower
                 consents to any such attornment), such attornment to be effective on Lender’s              ag            f title to the

                 from time to time request; (d) the tenant’s attornment shall not be terminated                      ce; and (e) Lender,
                 at Lender's option, may accept or reject such attornment.         If Borrower lea               ny tenant proposes to
                                                                                                                 shall immediately (i)

                 all measures so taken and of the amount of any setoff claime                       h tenant; and (iii) within 10 days
                 after the accrual of any right of setoff against rent, reimburse any t
                 full, or take other measures that will effectively disch
                 due shall continue to be payable without claim of set                         .
                           At Lender’s request, Borrower shall assign             y           tten instrument satisfactory to Lender,
                 all Leases of the Mortgaged Property, and all s                    i
                 Leases. On assignment to Lender of any su                                 all succeed to all rights and powers of
RP-2021-391418




                                                                                       sole and absolute discretion, shall have the
                 right to modify, extend, or terminate suc                            ute other further leases with respect to the
                 Mortgaged Property that is the subject of
                          Neither Borrower, tenant
                 Mortgaged Property, except in co                         applicable federal, state, and local laws, ordinances,
                 rules and regulations; nor shall                      or any other occupant cause the Mortgaged Property to
                 become subject to any use thal                  mpliance with all applicable federal, state, and local laws,

                          If Borrower suspects any tenant or other occupant of the Mortgaged Property is using the
                 Mortgaged Property in a manner that is not in compliance with any Governmental Requirement to which
                 Borrower, tenant, or any other occupant of the Mortgaged Property is subject, Borrower shall immediately
                                            remedy the violation, and shall notify Lender of any potential violation within
                 one (1) day of d             any such potential violation. Any potential violation by a tenant or any other
                 occupant of the   lv            operty of any Governmental Requirement is an Event of Default under the
                 terms of the                    the Note and this Security Instrument, then Lender, at Lender’s option, may,
                 without                        all sums secured by this Security Instrument, regardless of their stated due
                 date(s),                   nd payable and may exercise all rights and remedies in the Loan Documents.
                 7.                      ct and Receive Rents. Despite any other provision of this Security Instrument,
                                         on to Borrower to collect and retain the Rents of the Mortgaged Property as they

                                   payment of any Indebtedness secured by this Security Instrument or in the performance of
                                   gations, and Lender shall have the rights set forth in the laws and regulations where the
                                roperty is located regardless of whether declaration of default has been delivered, and without
                             he adequacy of the security for the Indebtedness secured by this Security Instrument. Failure of




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                 Deed of Trust | Loan No. 1G2301COM                                                         Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 11 of 28




                 manner affect the subsequent enforcement by Lender at any time, or from time to time, of the right, power,
                 and authority to collect these Rents. The receipt and application by Lender of all such Rents under this
                 Security Instrument, after execution and delivery of declaration of default and demand for sale as provided
                 in this Security Instrument or during the pendency of trustee’s sale proceedings under this Security
                 Instrument or judicial foreclosure, shall neither cure such breach or default nor affect such sale proceedings,
                 or any sale made     under them, but such Rents, less all costs of operation, maintenance,        collection,    and
                 Attorneys’ Fees, when received by Lender, may be applied in reduction of the entire Indebtedness from
                 time to time secured by this Security Instrument, in such order as Lender may decide. Nothing in this
                 Security Instrument, nor the exercise of Lender’s right to collect, nor an assumption by Lender of any
                 tenancy, lease, or option, nor an assumption of liability under, nor a subordination of the lien or charge of
                 this Security Instrument to, any such tenancy, lease, or option, shall be, or be construed to be, an affirmation
                 by Lender of any tenancy, lease, or option.
                          If the Rents of the Mortgaged Property are not sufficient to meet the costs, if any, of taking control
                 of and managing the Mortgaged Property and collecting the Rents, any funds expended by Lender for such
                 purposes shall become an Indebtedness of Borrower to Lender secured by this Security Instrument. Unless
                 Lender and Borrower agree in writing to other terms of payment, such amounts shall be payable on notice
                 from Lender to Borrower requesting such payment and shall bear interest from the date of disbursement at
                 the rate stated in the Note unless payment of interest at such rate would be contrary to Governmental
                 Requirements, in which event the amounts shall bear interest at the highest rate that may be collected from
                 Borrower under Governmental Requirements.
                          Borrower expressly understands and agrees that Lender will have no liability to Borrower or any
                 other person for Lender’s failure or inability to collect Rents from the Mortgaged Property or for failing to
                 collect such Rents in an amount that is equal to the fair market rental value of the Mort ged
RP-2021-391418




                                       by any court at the request of Lender or by agreement with Borrower,
                                                                                                    |        or the entering
                 into possession of the Mortgaged Property or any part of it by such receiver be deemed to make Lender a
                 mortgagee-in-possession or otherwise responsible or liable in any manner with respect to the Mortgaged
                 Property or the use, occupancy, enjoyment, or operation of all or any portion of it.
                          During an Event of Default, any and all Rents collected or received by Borrower shall be accepted
                 and held for Lender in trust and shall not be commingled with Borrower's funds and property, but shall be
                 promptly paid over to Lender.
                 8.       Assignment of Causes of Action, Awards, and Damages. All causes of action, and all sums due
                 or payable to Borrower for injury or damage to the Mortgaged Property, or as damages incurred in
                 connection with the transactions in which the Loan secured by this Security Instrument was made,
                 including, without limitation, causes of action and damages       for breach of contract, fraud, concealment,
                 construction defects, or other torts, or compensation for any conveyance in lieu of condemnation, are
                 assigned to Lender, and all proceeds from such causes of action and all such sums shall be paid to Lender
                 for credit against the Indebtedness secured by this Security Instrument. Borrower shall notify Lender
                 immediately on receipt by Borrower of notice that any such sums have become due or payable and,
                 immediately on receipt of any such sums, shall promptly remit such sums to Lender.
                           After deducting all expenses, including Attorneys’ Fees, incurred by Lender in recovering or
                 collecting any sums under this Section, Lender may apply or release the balance of any funds received by
                 it under this Section, or any part of such balance, as it elects. Lender, at its option, may appear in and
                 prosecute in its own name any action or proceeding to enforce any cause of action assigned to it under this
                 Section and may make any compromise or settlement in such action whatsoever. Borrower covenants that
                 it shall execute and deliver to Lender such further assignments of any such compensation awards, damages,


                                                                        11
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                 Deed of Trust | Loan No. 1G2301COM                                                     Borrower’s Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 12 of 28




                     causes of action as Lender may request from time to time. If Lender fails or does not elect to prosecute
                         ch action or proceeding and Borrower elects to do so, Borrower may conduct the action or proceeding
                           n expense and risk.
                             efense of Security Instrument; Litigation. Borrower represents and warrants that this Security
                             t creates a first position lien and security interest against the Mortgaged Property. Borrower shall
                                     mediate written notice of any action or proceeding (including, without limitation, any
                                     : civil, criminal, or probate, or nonjudicial proceeding to foreclose the lien of a junior or
                                            eed of trust) affecting or purporting to affect the Mortgaged Property, this Security
                                             security for the performance of the Obligations and payment of the Indebtedness, or
                                                    ender under the Loan Documents. Despite any other provision of this Security
                                                         that Lender or Trustee may (but is not obligated to) commence, appear in,
                 prosecute, defe                         se, and settle, in Lender’s or Borrower’s name, and as attorney-in-fact for
                 Borrower, and{incur             neces         sts and expenses, including Attorneys’ Fees in so doing, any action or
                 proceeding, whether a            civ            1, or probate judicial matter, nonjudicial proceeding, arbitration, or other
                 alternative dispute res                             ure, reasonably necessary to preserve or protect, or affecting or
                 purporting to affect, t                    ged Property, this Security Instrument, Lender’s security for performance
                 of the Obligations and payment of the                      tedness, or the rights or powers of Lender or Trustee under the
                 Loan Documents, and that if Lender                          stee elect not to do so, Borrower shall commence, appear in,
                 prosecute, and defend any su                                ceeding. Borrower shall pay all costs and expenses of Lender
                                                                                    d Attorneys’ Fees, in any such action or proceeding in
                 which Lender or Trustee may appear or                                al counsel is sought, whether by virtue of being made
                                                                                       the interest of Lender or Trustee in the Mortgaged
                 Property is directly questioned in suc!                                   ing, including, without limitation, any action for
                 the condemnation or partition of all or                                       ortgaged Property and any action brought by
                 Lender to foreclose this Security Instrume                                      of its terms or provisions.
RP-2021-391418




                 10.       Borrower’s Failure to Compl                                                           If Borrower fails to make any
                 payment or do any act required by this Se                                             r if there is any action or proceeding
                 (including, without limitation, any judicial or no                                   ding to foreclose the lien of a junior or
                 senior mortgage or deed of trust) affecting or purporting                             t the Mortgaged Property, this Security
                 Instrument, Lender’s security for the performance of the
                 the rights or powers of Lender or Trustee under the Loan
                 Lender or Trustee may (but is not obligated to) (a) make a                           ch payment or do any such act in such
                 manner and to such extent as either deems necessary to pres                             r protect the Mortgaged Property, this
                 Security Instrument, or Lender’s security for the performance of Borrower's Obligations and payment of
                 the Indebtedness, or the rights or powers of Lender or Trustee under the Loan Documents, Lender and
                 Trustee being authorized to enter on the Mortgaged Property for any such purposesand (b) in exercising
                 any such power, pay necessary expenses, retain attorneys, and pay Attorneys’                                      in connection
                 with such action, without notice to or demand              on Borrower and without r
                 Obligations or Indebtedness.
                 11.      Sums Advanced to Bear Interest and to Be Secured by Securi
                 request, Borrower shall immediately pay any sums advanced or paid by Lender
                 provision of this Security Instrument or the other Loan Documents. Until so repaid,
                 other sums payable to Lender and Trustee shall be added to, and become a part of, the    Ind
                 by this Security Instrument and bear interest from the date of advancement or payment by
                 at the same rate as provided in the Note, unless payment of interest at such rate would“
                 Governmental Requirements. All sums advanced by Lender under this Security Instrument or the othe
                 Loan Documents, whether or not required to be advanced by Lender under the terms of this Secu
                 Instrument or the other Loan Documents, shall conclusively be deemed to be mandatory advances req
                 to preserve and protect this Security Instrument and Lender’s security for the performance



                                                                                12
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                 Deed of Trust | Loan No. 1G2301COM                                                                 Borrower's Initials:
                       Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 13 of 28




                 Obligations and payment of the Indebtedness, and shall be secured by this Security Instrument to the same
                  xtent and with the same priority as the principal and interest payable under the Note.
                 12       Inspection of Mortgaged Property. In addition to any rights Lender may have under the laws
                           ations where the Mortgaged Property is located, Lender may make, or authorize other persons,
                             but not limited to, appraisers and prospective purchasers at any foreclosure sale commenced by
                                ter on or inspect the Mortgaged Property at reasonable times and for reasonable durations.




                 specifi                    Jortgaged Property that, under Governmental Requirements, may be subject to a
                 security
                 those items.             - authorizes Lender to file financing statements in all states, counties, and other
                 jurisdictions as'Lend             ¢t, without Borrowers signature if permitted by law. Borrower agrees that
                 Lender may file this Securj               nt, or a copy of it, in the real estate records or other appropriate index
                 or in the Office of tl                     tate and such other states as the Lender may elect, as a financing
                 statement for any of the   item        i       ove as part of the Mortgaged Property. Any reproduction of this
                 Security Instrument or executed du
                 County Recorder in the state                        aged Property is located, or of any other security agreement
                 or financing statement, shall                        nancing statement. In addition, Borrower agrees to execute

                 renewals, and amendments, and copie
                 perfect a security interest with respe
                 financing statements and any extension                           ents, and releases of such statements, and shall
RP-2021-391418




                 created any other security interest in the items,      i           cements and additions.
                          On any Event of Default, Lender shall
                 Commercial Code and, at Lender’s option, may als                 ¢ remedies provided in the Non-Uniform
                 Covenants section of this Security Instrument as to such i                  ng any of these remedies, Lender
                 may proceed against the items of Mortgaged Property a                   of Personalty separately or together
                 and in any order whatsoever, without in any way affecting t        ilability of Lender’s remedies under the
                 Uniform Commercial Code or of the remedies provided in              on-Uniform Covenants section of this
                 Security Instrument.
                 14.      Fixture Filing. This Security Instrument constitutes a financing statement filed as a fixture filing
                 under Uniform Commercial Code, as amended or recodified from time to time, co                ny portion of the
                 Mortgaged Property that now is or later may become a fixture attached to the
                 Improvement.
                 15.      Waiver of Statute of Limitations. Borrower waives the right to ass
                 as a defense to the Loan Documents and the Obligations secured by this Secu                           e fullest
                 extent permitted by Governmental Requirements.
                 16.      Default.    Any Event of Default, as defined in the Loan Agreement, shall co
                 Default” as that term is used in this Security Instrument (and the term "Default" shall me
                 with any required lapse of time or notice, may constitute an Event of Default, whether or
                 requirement for notice or lapse of time has been satisfied).
                 17.     Acceleration on Transfer or Encumbrance.
                          17.1     Acceleration on Transfer or Encumbrance of Mortgaged Property.                If Borrow
                 exchanges, assigns, conveys, encumbers (including, but not limited to PACE/HERO loans, any loans
                 payments are collected through property tax assessments, and super-voluntary liens which are deemed         to
                 have priority over the lien of the Security Instrument) (other than with a Permitted Encumbrance), transfers


                                                                          13
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                 Deed of Trust | Loan No. 1G2301COM                                                        Borrower’s Initials:
                    Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 14 of 28




                 possession, or alienates all or any portion of the Mortgaged Property, or any of Borrowers interest in the
                 Mortgaged Property, or suffers its title to, or any interest in, the Mortgaged Property to be divested, whether
                 voluntarily or involuntarily; or if there is a sale or transfer of a majority interest in Borrower, provided that
                 a change of less than 50% does not result in a change of key principals and management of the Borrower;
                 or if Borrower changes or permits to be changed the character or use of the Mortgaged Property, or drills
                 or extracts or enters into any lease for the drilling or extracting of oil, gas, or other hydrocarbon substances
                 or any mineral of any kind or character on the Mortgaged Property; or if title to such Mortgaged Property
                 becomes subject to any lien or charge, voluntary or involuntary, contractual or statutory, without Lender’s
                 prior written consent, then Lender, at Lender’s option, may, without prior notice, declare all sums secured
                 by this Security Instrument, regardless of their stated due date(s), immediately due and payable and may
                 exercise all rights and remedies in the Loan Documents.
                           17.2     Replacement Personalty. Notwithstanding anything to the contrary herein, Borrower
                 may from time to time replace Personalty constituting a part of the Mortgaged Property, as long as (a) the
                 replacements for such Personalty are of equivalent value and quality; (b) Borrower has good and clear title
                 to such replacement Personalty free and clear of any and all liens, encumbrances, security interests,
                 ownership interests, claims of title (contingent or otherwise), or charges of any kind, or the rights of any
                 conditional sellers, vendors, or any other third parties in or to such replacement Personalty have been
                 expressly subordinated to the lien of the Security Instrument in a manner satisfactory to Lender and at no
                 cost to Lender; and (c) at Lender’s option, Borrower provides at no cost to Lender satisfactory evidence
                 that the Security Instrument constitutes a valid and subsisting lien on and security interest in such
                 replacement Personalty of the same priority as this Security Instrument has on the Mortgaged Property and
                 is not subject to being subordinated or its priority affected under any Governmental Requiy
                           17.3     Permitted Encumbrances. If Lender consents in writi
                 unreasonably withheld, the due-on-encumbrance prot ibiti
                 trust or mortgage lien in favor of another
RP-2021-391418




                 of any such junior encumbranc
                 determ

                                                            incurred in connection with such encumbrance.
                                         arshaling. Despite the existence of interests in the Mortgaged Property other than
                                                     A




                               by this Security Instrument, and despite any other provision of this Security Instrument, if
                 Borrower defaults in paying the Indebtedness or in performing any Obligations, Lender shall have the right,
                 in Lender’s sole and absolute discretion, to establish the order in which the Mortgaged Property will be
                 subjected to the remedies provided in this Security Instrument and to establish the order in which all or any
                 part of the Indebtedness secured by this Security Instrument is satisfied from the proceeds realized on the
                 exercise of the remedies provided in this Security Instrument. Borrower and any person who now has or
                 later acquires any interest in the Mortgaged Property with actual or constructive notice of this Security
                 Instrument waives any and all rights to require a marshaling of assets in connection with the exercise of
                 any of the remedies provided in this Security Instrument or otherwise provided by Governmental
                 Requirements.
                 19.      Consents and Modifications; Borrower and Lien Not Released. Despite Borrowers default in
                 the payment of any Indebtedness secured by this Security Instrument or in the performance of any
                 Obligations under this Security Instrument or Borrower's breach of any obligation, covenant, or agreement
                 in the Loan Documents, Lender, at Lender’s option, without notice to or consent from Borrower, any
                 guarantor of the Indebtedness and of Borrower’s Obligations under the Loan Documents, or any holder or
                 claimant of a lien or interest in the Mortgaged Property that is junior to the lien of this Security Instrument,
                 and without incurring liability to Borrower or any other person by so doing, may from time to time (a)
                 extend the time for payment of all or any portion of Borrower’s Indebtedness under the Loan Documents;
                 (b) accept a renewal note or notes, or release any person from liability, for all or any portion of such
                 Indebtedness; (c) agree with Borrower to modify the terms and conditions of payment under the Loan


                                                                         14
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                 Deed of Trust | Loan No. 1G2301COM                                                      Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 15 of 28




                 Documents; (d) reduce the amount of th                 y installments due under the Note; (e) reconvey or release
                 other or additional security for the repa                  rowers Indebtedness under the Loan Documents; (f)
                 approve the preparation or filing of any                    th respect to the Mortgaged Property; (g) enter into
                 any cxtension or subordination agreement                  the Mortgaged Property or the lien of this Security
                 Instrument; and (h) agree with Borrow                         the term, the rate of interest, or the period of
                 amortization of the Note or alter the amo                    hly installments payable under the Note. No action
                 taken by Lender under this Section shall                     unless it is in writing, subscribed by Lender, and,
                 except as expressly stated in such writing, no       action will impair or affect (i) Borrower's obligation to
                 pay the Indebtedness secured by this Se                        ent and to observe all Obligations of Borrower
                 contained in the Loan Documents; (ii) t                          any Person of the payment of the Indebtedness
                 secured by this Security Instrument; or (ii)                 priority of the lien of this Security Instrument. At
                 Lender’s request, Borrower shall promptly               ender a reasonable service charge, together with all
                 insurance premiums and Attorneys’ Fees as Lender may have advanced, for any action taken by Lender
                 under this Section.
                           Whenever Lender’s consent or approval is specified as a condition of any provision of this Security
                 Instrument, such consent or approval shall not be effective unless such consent or approval is in writing,
                 signed by two authorized officers of Lender.
                 20.       Future Advances. On request by Borrower              der, at Lender’s option, may make future advances
                 to Borrower.      All such future advances, :                   , shall be added to and become a part of the
                 Indebtedness secured by this Security Instru              en evidenced by promissory notes reciting that such
                 note(s) are sccured by this Security Instrument.
                 21.       Prepayment.      If the Loan Docur                ide for a fee or charge as consideration for the
                 acceptance of prepayment of principal, Borr                        pay said fee or charge if the Indebtedness or any
                 part of it shall be paid, whether voluntarily or involu              , before the due date stated in the Note, even if
                 Borrower has defaulted in payment or in the                        f any agreement under the Loan Documents and
RP-2021-391418




                 Lender has declared all sums secured by thi                        ument immediately due and payable.
                 22.       Governing                                                Venue. This Security Instrument is made by
                 Lender and accepted by Borrower in the Staté‘of Pennsylvania except that at all times the provisions for the
                 creation, perfection, priority, enforcement ang                     of the liens and security interests created in the
                 Mortgaged Property under the Loan Docum                           overned by and construed according to the laws
                 of the state in which the Mortgaged Property                          o the fullest extent permitted by the law of the
                 state in which the Mortgaged Property is situa                 aw of the State of Pennsylvania shall govern the
                 validity and enforceability of all Loan Documg                     e debt or obligations arising hereunder (but the
                 foregoing shall not be construed to limit Lend                          respect to such security interest created in the
                 state in which the Mortgaged Property is situ                           tics agree that jurisdiction and venue for any
                 dispute, claim or controversy arising, other t                         ct to perfection and enforcement of Lender’s
                 rights against the Mortgaged Property, shall be Lehigh County, Pennsylvania, or the applicable federal
                 district court that covers said County, and Bo               bmits to personal jurisdiction in that forum for any
                 and all purposes. Borrower waives any rigl                       .anay have to assert the doctrine of forum non
                 conveniens or to object to such venue.

                                                                                nmiaLsC       z


                 23.     Taxation of Security Instrument. In                 the enactment of any law deducting from the
                 value of the Mortgaged Property any mortgage lien on it, or imposing on Lender the payment of all or part
                 of the taxes, charges, or assessments previou                 orrower under this Security Instrument, or
                 changing the law relating to the taxation of mo               ecured by mortgages, or Lender’s interest in
                 the Mortgaged Property so as to impose new incid                Lender, then Borrower shall pay such taxes
                 or assessments or shall reimburse Lender for them              however, that if in the opinion of Lender’s
                 counsel such payment cannot lawfully be made                  hen Lender may, at Lender’s option, declare



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                 Deed of Trust | Loan No. IG2301COM                                                           Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 16 of 28




                 all sums secured by this S             ystrument to be immediately due and payable without notice to Borrower.
                 Lender may invoke any remg                ‘mitted by this Security Instrument.
                 24,      Mechanic’s Liens                       ll pay from time to time when due, all lawful claims and demands
                 of mechanics, materialmen                  d others that, if unpaid, might result in, or permit the creation of, a
                 lien on the Mortgaged Property                 of it, or on the Rents arising therefrom, and in general shail do
                 or cause to be done everything                    that the lien and security interest of this Security Instrument
                 shall be fully preserved, at Be                   nse, without expense to Lender; provided, however, that if
                 Governmental Requirements                      orrower to discharge of record any mechanic’s, laborer’s,
                 materialman’s, or other lien aga                      aged Property by the posting of a bond or other security,
                 Borrower shall not have to make                       if Borrower posts such bond or other security on the earlier
                 of (a) 10 days after the filing or                   ame or (b) within the time prescribed by law, so as not to
                 place the Mortgaged Property in je               a lien or forfeiture.
                 25.       Liability for Acts or Omissions. Lender shall not be liable or responsible for its acts or omissions
                 under this Security Instrument, except for Lender’s own gross negligence or willful misconduct, or be liable
                 or responsible for any acts or omissions of any agent, attorney, or employee of Lender, if selected with
                 reasonable care.
                 26.       Notices. Except for any notice required            Governmental Requirements to be given in another
                 manner, any notice required to be provided in th            ecurity Instrument shall be given in accordance with
                 the Loan Agreement.
                 27.       Statement of Obligations. E:               s herwise provided by Governmental Requirements, at
                 Lender’s request, Borrower shall promptly pay                 der such fee as may then be provided by law as the
                 maximum charge for each statement of                        ns, Lender’s statement, Lender's demand, payoff
                 statement, or other statement on the con                         alance owed, under the Note or secured by this
                 Security Instrument.
                 28.       Remedies Are Cumulative. Each remedy in t                 Security Instrument is separate and distinct and
RP-2021-391418




                 is cumulative to all other rights and remed                           this Security Instrument or by Governmental
                 Requirements, and each may be exercised                               ndependently, or successively, in any order
                 whatsoever.
                 29.       Obligations of Borrower Joint and Several. If                ¢ than one Person is named as Borrower, each
                 obligation of Borrower under this Security Instr                         he joint and several obligations of each such
                 Person.
                 30.       Delegation of Authority. Whenever thi                    y Instrument provides that Borrower authorizes
                 and appoints Lender as Borrower’s attorney-in-fact to perforiii             any act for or on behalf of Borrower or in
                 the name, place, and stead of Borrower, Borrower                             rstands and agrees that this authority shall
                 be deemed a power coupled with an interest and s                       shall be irrevocable.
                 31.       Funds for Taxes and Insurance. If Borrower            is in default under this Security Instrument or any
                 of the Loan Documents, regardless of whether the default has been cured, then Lender may at any
                 subsequent time, at its option to be exercised on 30 &                    en notice to Borrower, require Borrower to
                 deposit with Lender or its designee, at the time of ea                            an installment of interest or principal
                 under the Note, an additional amount sufficient to d                      he obligations of Borrower under the Note
                 and this Security Instrument as they become due. The calculation of the amount payable and of the
                 fractional part of it to be deposited with Lender shall be                   Lender in its sole and absolute discretion.
                 These amounts shall be held by Lender or its designee ne                             not as agent of Borrower and shall
                 not bear interest, and shall be applied to the payment of at                   Obligations under the Loan Documents
                 in such order or priority as Lender shall determine. If at                             in 30 days before the due date of
                 these obligations the amounts then on deposit shall be insuf                              e obligations under the Note and
                 this Security Instrument in full, Borrower shall deposit the                              eficiency with Lender within 10
                 days after Lender’s demand. If the amounts deposited are in                                ctual obligations for which they
                 were deposited, Lender may refund any such excess, or, at                                1ay hold the excess in a reserve
                 account, not in trust and not bearing interest, and reduce propo                         he required monthly deposits for


                                                                             16
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                 Deed of Trust | Loan No. 1G2301COM                                                             Borrower's Initials:
                       Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 17 of 28




                 the ensuing year. Nothing in this Section shall be deemed to affect any right or remedy of Lender under
                 any other provision of this Security Instrument or under any statute or rule of law to pay any such amount
                 and to add the amount so paid to the Indebtedness secured by this Security Instrument. Lender shall have
                 no obligation to pay insurance premiums or taxes except to the extent the fund established under this Section
                 is sufficient to pay such premiums or taxes, to obtain insurance, or to notify Borrower of any matters relative
                 to the insurance or taxes for which the fund is established under this Section. Notwithstanding the
                 preceding, Borrower and Lender may agree to impounds of taxes and insurance which impounds shall be
                 identified in the Note.
                            Lender or its designee shall hold all amounts so deposited as additional security for the sums
                 secured by this Security Instrument. Lender may, in its sole and absolute discretion and without regard to
                 the adequacy of its security under this Security Instrument, apply such amounts or any portion of it to any
                 Indebtedness secured by this Security Instrument, and such application shall not be construed to cure or
                 waive any default or notice of default under this Security Instrument.
                            If Lender requires deposits to be made under this Section, Borrower shall deliver to Lender all tax
                 bills, bond and assessment statements, statements for insurance premiums, and statements for any other
                      igations referred to above as soon as Borrower receives such documents.
                               Lender sells or assigns this Security Instrument, Lender shall have the right to transfer all
                                   sited under this Section to the purchaser or assignee. After such a transfer, Lender shall be
                                            further liability under this Security Instrument for the application of such deposits,




                                                                                     to this Security Instrument,
                                                                                      ecurity Instrument and unless the context
RP-2021-391418




                                                                                               mean and include this Security
                                                                                           M




                 Instrument as a whole, rather than any particular prov
                          32.3     Authorized Agents. In exercising any rig                                   ction provided in
                 this Security Instrument, Lender may act through its employe                                    contractors, as
                 Lender expressly authorizes.
                          32.4     Gender and Number. Wherever the context so requires in this
                 masculine   gender  includes the feminine and neuter, the singular number includes the pli
                          32.5     Captions.     Captions and section headings used in this Security Instr
                 convenience of reference only, are not a part of this Security Instrument, and shall not be used in co      uing
                 it.
                 33.   Dispute Resolution: Waiver of Right to Jury Trial.
                       33.1    ARBITRATION.        CONCURRENTLY           HEREWITH, BORROWER   AND ANY
                 GUARANTOR SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT WHEREBY
                 BORROWER, ANY GUARANTOR, AND LENDER AGREE TO ARBITRATE ANY DISPUTES TO
                 RESOLVE ANY CLAIMS (AS DEFINED IN THE ARBITRATION AGREEMENT).
                       33.2    WAIVER OF RIGHT TO JURY TRIAL.                    CONCURRENTLY HEREWITH,
                 BORROWER AND ANY GUARANTOR SHALL EXECUTE THAT CERTAIN ARBITRATION
                 AGREEMENT AND WAIVER OF RIGHT TO JURY TRIAL WHEREBY BORROWER, ANY
                 GUARANTOR, AND LENDER AGREE TO WAIVE THEIR RESPECTIVE RIGHTS TO A JURY
                 TRIAL OF ANY CLAIM (AS DEFINED IN THE ARBITRATION AGREEMENT) OR CAUSE OF
                 ACTION BASED ON OR ARISING FROM THE LOAN.

                                                            BORROWER’S INITIALS:      z




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                 Deed of Trust | Loan No. IG2301COM                                                      Borrower's Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 18 of 28




                          33.3     PROVISIONAL REMEDIES; FORECLOSURE AND INJ
                 Nothing in the Section above, shall be deemed to apply to or limit the right of Lender                    ercise self-
                 help remedies, (b) foreclose judicially or nonjudicially against any real or perso                          ateral, or
                 to exercise judicial or nonjudicial power of sale rights, (c) obtain from a court                    al or ancillary
                 remedies (including, but not limited to, injunctive relief, a writ of possessio                        tachment, a
                 protective order or the appointment of a receiver), or (d) pursue rights againg
                 in a third party proceeding in any action brought against Lender (including,
                 bankruptcy court). Lender may exercise the rights set forth in the foreg
                 inclusive, before, during, or after the pendency of any proceeding referr                      ion above. Neither
                 the exercise of self-help remedies nor the institution or maintenance o                     on for foreclosure or
                 provisional or ancillary remedies or the opposition to any such provisio
                 waiver of the right of any Borrower, Lender or any other party, includi                     mited to, the claimant
                 in any such action, to require submission of the dispute, claim or                sy occasioning resort to such
                 remedies to any proceeding referred to in the Section above.
                           33.4    Contractual Right to Appoint a Receiver Upon
                 under this Security Instrument or a breach of any clause of ;          reement      signed in connection with the
                 loan to Borrower, Borrower agrees that Lender may appoi           receiver to control the Mortgaged Property
                 within seven (7) days of any default. Borrower agrees
                 control to said receiver and otherwise cooperate with the receiver a         ted by Lender.
                           33.5    Loan Agreement. This Security In
                 Agreement. As specifically provided in the Loan                        Borrower defaults under this Security
                 Instrument, Lender has the right and option to for                    ny Collateral provided under the Loan
                 Agreement.

                 NON-UNIFORM          COVENANTS.
RP-2021-391418




                 Notwithstanding anything to the contrary                           Security Instrument, Borrower and Lender
                 further covenant and agree as follows:

                 34.      Acceleration and Sale on De                         of Default occurs, Lender, at its option, in addition
                 to other remedies provided at law, 1                       s secured by this Security Instrument immediately
                 due and payable and may, at Lende                direct Trustee to foreclose upon the Mortgage Property in
                 accordance with Chapter 51 of the                    Code, as the same may be amended from time to time.
                           Trustee, when requested t     so by         r after such an Event of Default as aforesaid, shall sell
                 all or any portion of the Mortgaged Property at public auction, to the highest bidder for cash, at the county
                 courthouse of the county in Texas in which the Mortgaged Property or any part thereof is situated in the
                 area in or about such courthouse designated for real property foreclosure sales in accordance with applicable
                 law (or in the absence of such designation, in the area set forth in the notice of sale hereinafter described),
                 between the hours of 10:00.0            k A.M. and 4:00 o'clock P.M., on the first Tuesday of any month, after
                 giving notice of the ti                    terms of said sale, and of the property to be sold in accordance with
                 applicable laws in the                      n effect at the time such notice is given, provided however, such sale
                 shall begin at the time stated in sugh       notice or within three (3) hours thereafter.
                                              :            e shall be given by posting written notice of the sale at the courthouse,
                                                      ed or required by applicable law, by filing a copy of the notice in the office
                                                      y in which the sale is to be made at least twenty-one (21) days preceding
                                                    perty to be sold is situated in more than one county, a notice shall be posted
                 at the courthot                    h the county clerk of each county in which the property to be sold is situated.
                 In addition, Len                 least twenty-one (21) days preceding the date of sale, serve written notice of
                 the proposed sa                ed mail on each debtor obligated to pay the debt secured hereby according to the
                 records of Lend             ce of such notice shall be completed upon deposit of the notice, enclosed in a


                                                                         18
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                 Deed of Trust |     0. IG2301COM                                                         Borrower's Initials:
                    Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 19 of 28




                 postpaid wrapper, properly addressed to such debtor at the most recent address as shown by the records of
                 Lender, in a post office or official depository under the care and custody of the United States Postal Service.
                 The affidavit of any person having knowledge of the facts to the effect that such service was completed
                 shall be prima facie evidence of the fact of service.
                           Any notice that is required or permitted to be given to Borrower may be addressed to Borrower at
                 Borrower’s address as stated on the first page hereof. Any notice that is to be given by certified mail to any
                 other debtor may, if no address for such other debtor is shown by the records of Lender, be addressed t
                 such other debtor at the address of Borrower as is shown by the records of Lender. Trustee may
                 any attorney-in-fact or agent to act in his or her stead as Trustee to perform all duties of
                 authorized herein. Borrower authorizes and empowers Trustee to sell the Mortgaged Proper
                 in lots or parcels, as Trustee shall deem expedient; to receive the proceeds of said sale;
                 deliver to the purchaser or purchasers thereof good and sufficient deeds of conveyance
                 title, with covenants of general warranty, and Borrower binds itself, himself or h
                 forever defend the title of such purchaser or purchasers. Trustee may postpone
                 of the Mortgaged Property by public announcement made at the initial time
                 time to time later by public announcement made at the time and place of
                 postponement. Any person, including Borrower, Trustee, or Lender, may pur                   such sale. Lender




                                                                                                                     mm
                 may offset its bid at such sale to the extent of the full amount owed to Lender under      the Loan Documents,
                 including, without limitation, Trustee’s fees, expenses of sale, and costs, expenses, and Attorneys’              Fees
                 incurred by or on behalf of Lender in connection with collectisig,      litigating, or otherwise enforcing any right
                 under the Loan Documents.
                          The proceeds or avails of any sale made un                               is Security Instrument, together
                 with any other sums secured by this Security Instrum

                 including Trustee's fees, costs of title evid                 :      Fees, and reasonable compensation to Lender
RP-2021-391418




                 and its agents and consultants, and of any
                 may be made, and of all expenses, liab


                 which the Mortgaged Prop                            he payment of the whole amount then due, owing, or unpaid
                 on the Note for interest                   ith interest on the unpaid principal at the Default Rate (as defined
                 in the Note), from the                       h payment of principal until the same is paid; (3) to the payment
                                                          e paid by Borrower under any provision of this Security Instrument,
                 the Note, or a                  Loan Documents; and (4) to the payment of the surplus, if any, to whomsoever

                                          e Trustee shall be deemed to have accepted the terms of this trust when this Security
                                           uted and acknowledged, is made a public record as provided by law. The Trustee shall
                                         otify any party to this Security Instrument of any pending sale under any other Security
                                      any action or proceeding in which Borrower, Lender, or Trustee is a party, unless such
                                        reasonably might affect the Mortgaged Property, this Security Instrument, Lender’s
                              r the payment of the Indebtedness and the performance of the Obligations, or the rights or powers
                              or Trustee under the Loan Documents, or unless such action or proceeding has been instituted by
                         ¢ against the Mortgaged Property, Borrower, or Lender.
                           In case of any sale hereunder, all prerequisites to the sale shall be presumed to have been performed,
                  nd in conveyance given hereunder, all statements of facts or other recitals made therein as to any of the
                 following, shall be taken in all courts of law or equity as prima facie evidence that the facts so stated or
                 recited are true; i.e., the nonpayment of money secured; the request to Trustee to enforce this trust; the
                 proper and due appointment of any substitute trustee; the advertisement of sale or time, place and manner
                 of sale; or any other preliminary fact or thing. Trustee shall not be liable for any action taken or omitted to
                 be taken by Trustee in good faith and reasonably believed to be within the discretion or power conferred


                                                                          19
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                 Deed of Trust | Loan No. 1G2301COM                                                         Borrower's Initials:
                       Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 20 of 28




                 upon Trustee by this Security Instrument and shall be answerable                     1 losses occurring through his or
                 her gross negligence or willful misconduct. Borrower agrees to s                      old Trustee and Lender harmless
                 from all loss and expense, including reasonable Attorneys’ Fe                            a title search or abstract, and
                 preparation of survey, incurred by reason of any action, suit of                           (including an action, suit or
                 proceeding to foreclose or to collect the debt secured hereby) i                           Trustee or Lender may be or
                 become a party by reason hereof, including but not limited to,                           bankruptcy and administration
                 proceedings, as well as any other proceeding wherein proof
                 which it becomes necessary to defend or uphold the terms o
                 instance, all money paid or expended by Trustee or Lender,                           nterest thereon from date of such
                 payment at the rate set forth in said Note or at the Defau                          ever is higher, shall be so much
                 additional indebtedness secured hereby and shall be imm
                 36.       Power of Trustee to Reconvey or Consent. At an                          hout liability and without notice to
                 Borrower, on Lender’s written request and presentation of the Note and this Security Instrument to Trustee
                 for endorsement, and without altering or affecting (a) the personal liability of Borrower or any other person
                 for the payment of the Indebtedness secured by this Security Instrument, or (b) the lien of this Security
                 Instrument on the remainder of the Mortgaged Property as security for the repayment of the full amount of
                 the Indebtedness then or later secured by this Security Instrument, (c) or any right or power of Lender or
                 Trustee with respect to the remainder of the Mortgaged Properf§;           Trustee may (i) reconvey or release any
                 part of the Mortgaged Property from the lien of                ity,      instrument; (ii) approve the preparation or
                 filing of any map or plat of the Mortgaged Property;                    n the granting of any easement burdening
                 the Mortgaged Property; or (iv) enter into a                          or subordination agreement affecting the
                 Mortgaged Property or the lien of this Security
                 37.      Duty to Reconvey. On Lender’s writter                reciting that all sums secured hereby have been
                 paid, surrender of the Note and this Security Instrum               stee for cancellation and retention by Trustee,
                 and payment by Borrower of any reconv                               tomarily charged by Trustee, Trustee shall
                 reconvey, without warranty, the Mortgaged                     held by Trustee under this Security Instrument.
RP-2021-391418




                 The recitals in such reconveyance of any matters
                 grantee in such reconveyance may be described as “th
                 Property.” Such request and reconveyan         all operate as a reassignment of the Rents assigned to Lender
                 in this Security Instrument.
                 38.      Substitution of Trustee.     Lende                       ption, may from time to time, by written instrument,
                 substitute a successor or successors to        amed in or acting under this Security Instrument, which
                 instrument, when executed and acknowledged by Lender and recorded in the office of the Recorder of the
                 county or counties in which the M                y is located, shall constitute conclusive proof of the
                 proper substitution of such succes               Trustees, who shall, without conveyance from the
                 predecessor Trustee, succeed to a                          ¢state, powers,   and duties of such predecessor Trustee,
                 including, without limitation, th                  to reconvey the Mortgaged Property. To be effective, the
                 instrument must contain the na                      original Borrower, Trustee, and Lender under this Security
                 Instrument, the book and page o                      or document number at which, and the county or counties in
                 which, this Security Instrument i                       he name and address of the substitute Trustee. If any notice
                                                                      [=>




                 of default has been recorded ur               Security Instrument, this power of substitution cannot be exercised
                 until all costs, fees, and exp
                 acting Trustee shall endorse
                 provided in this Section for
                 provided by Governmental
                 39.     Collection of Re                          Event of Default, any and all Rents collected or received by
                 Borrower shall be accepted                      ender in trust and shall not be commingled with Borrower’s funds
                 and property, but shall be                     over to Lender. This instrument constitutes an assignment of rents
                 and a security instrument u                pter 64, Texas Property Code (SB 889 as enacted June 2011) and
                 affords Lender, as bene                    der, all rights and remedies of an assignee under Chapter 64, Texas


                                                                              20
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                 Deed of Trust | Loan No                                                                       Borrower's Initials: Corr
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 21 of 28




                 Property Code. This assignment of ren               s the Indebtedness, and a security interest in all rents from
                 the Mortgaged Property is hereby cre                  - Chapter 64 of the Texas Property Code to secure the
                 Obligations.
                          If the Lender deems it necessa               enient to have the rents collected by a receiver appointed
                 for that purpose following an event of                      nder may apply to a court of competent jurisdiction
                 for the appointment of a receiver of tl                    Property, without notice and without regard for the
                 adequacy of the security for the Indebf                     without regard for the solvency of Borrower, any
                 guarantor, or of any person, firm or other                  for the payment of the Indebtedness and shall have a
                 receiver appointed. The Borrower furtl                         its to the appointment of a receiver should Lender
                 elect to seek such relief.
                 40.      Waiver of Right of Offset;                          i               . No portion of the Indebtedness
                 secured by this Security Instrument shall be            eemed to be offset or compensated by all or any part of
                 any claim, cause of action, counterclaim, or cross-claim, whether liquidated or unliquidated, that Borrower
                 may have or claim to have against Lender, To the extent permitted by law, Borrower expressly waives and
                 relinquishes any and all rights and remedies under Sections 51.003, 51.004 and 51.005 of the Texas
                 Property Code, as amended or re-codified (the “Deficiency Statutes”), including without limitation, the
                 right to seek a credit against or offset of any deficieficy judgment based on the fair market value of the
                 Mortgaged Property sold at any judicial or non-judicial       foreclosure; and to the extent permitted by law,
                 Borrower agrees that Lender shall be entitle                  ciency judgment from Borrower and/or any other
                 party obligated on the Indebtedness secured hereby e            to the difference between the amount owing on
                 the Indebtedness secured hereby and the foreclo                 price. Alternatively, in the event the foregoing
                 waiver is determined by a court of compet                  on to be unenforceable, the following shall be the
                 basis for the finder of fact's determination o      f         et value of the Mortgaged Property as of the date
                 of the  foreclosure  sale   in proceedings  governed             of the Deficiency Statues: (a) the Mortgaged
                 Property shall be valued in an “as is” conditi                 e of the foreclosure sale, without any assumption
RP-2021-391418




                 or expectation that the Mortgaged Property                           or improved in any manner before a resale of
                 the Mortgaged Property after foreclosure:                         n shall be based upon an assumption that the
                 foreclosure purchaser desires a resale of the       gaged Property for cash promptly (but not later than twelve
                 (12) months) following the foreclosure sale; (                     le closing costs customarily borne by the seller
                 in commercial real estate transactions should                       m the gross fair market value of the Mortgaged
                 Property, including without limitation, broke                    ons, title insurance premiums, cost of a survey,
                 tax prorations, Attorneys’ Fees, and marketing                ) the gross fair market value of the Mortgaged
                 Property shall be further discounted to accoun                pated holding costs associated with maintaining
                 the Mortgaged Property pending sale, includi                           ion, utilities expenses, property management
                 fees, security, taxes and assessments (withoy                          , and other maintenance, operational and
                 ownership expenses; and (¢) any expert opintén testimony given or considered in connection with a
                 determination of the fair market value of the Mortgaged      Property must be given by persons having at least
                                                                             o the Mortgaged Property and who have conducted
                 and prepared a complete written appraisal of                            Property and taking into consideration the
                 factors set forth above.
                 41.      NO SUBORDINATE               FINANCING                  FURTHER            ENCUMBRANCES           MAY     BE
                 RECORDED AGAINST THE REAL PROPE                               HOUT THE PRIOR WRITTEN CONSENT OF
                 LENDER. FAILURE TO COMPLY WITH T                                            SHALL CONSTITUTE AN EVENT OF
                 DEFAULT AND, AT THE LENDER’S OPTION                                   N SHALL IMMEDIATELY BECOME DUE
                 AND PAYABLE. CONSENT TO ONE FURTHE                                      BRANCE SHALL NOT BE DEEMED TO
                 BE A WAIVER OF THE RIGHT TO REQUIR                                         SENT TO FUTURE OR SUCCESSIVE
                 ENCUMBRANCES.
                 42.      WAIVER OF NOTICES. Except as pro                                 te and as otherwise provided herein, unless
                 (and then to the extent not) prohibited by applicab                       ower, and each surety, endorser, guarantor
                 and other person liable or to become liable for pa                        f the Indebtedness:



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                 Deed of Trust | Loan No. 1G2301COM                                                         Borrower's Initials:        —
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 22 of 28




                          (1)      waive: opportunity to cure breach or default; grace; all notices, demands and presentments
                                   for payment; all notices of dishonor, non-payment, acceleration of maturity or intention to
                                    accelerate maturity; protest; dishonor; all other notices whatsoever; and, diligence in taking
                                    any action to collect amounts secured hereunder or in the handling of any collateral
                                    securing the Obligations at any time; and,
                          (i1)      consent and agree (without notice of any of the following): to any substitution,
                                    subordination, exchange or release of any security for the Obligations or the release of any
                                    party primarily or secondarily liable on the Indebtedness; that the Lender shall not be
                                    required first to institute suit or exhaust his remedies against the Borrower or others liable
                                    or to become liable on the Obligations or to enforce his rights against them or any security
                                    therefor; and, to any extension, renewal, rearrangement, or postponement of the time or
                                    manner of payment of the Indebtedness and to any other indulgence with respect hereto or
                                   thereto. Borrower waives any right of redemption.
                 43.       Usury Savings Provisions. It is expressly stipulated and agreed to be the intent of Borrower
                 Lender at all times to comply strictly with the applicable Texas law governing the maximum r.
                 of interest payable on the Indebtedness, or applicable United States federal law to the exter
                 permits Lender to contract for, charge, take, reserve or receive a greater amount of interg
                 law. If the applicable law is ever judicially interpreted so as to render usurious any a
                 charged, taken, reserved or received in respect of the Indebtedness, including |
                 of the maturity or the prepayment thereof, then it is Borrower’s and Lender's e
                 charged in excess of the Maximum Lawful Rate (as hereinafter                                    ically canceled,
                 ab initio, and all amounts in excess of the Maximum Lawful Rat                             d by Lender shall be
                 credited on the principal balance of the Indebtedness (or, i                         been or would thereby be
                 paid in full, refunded to Borrower), and the provisio                            other Loan Documents shall

                 without the necessity of the execution of an
RP-2021-391418




                                                                                          o comply with the applicable laws, but
                 so as to permit the recovery of the full
                 however, if the Note has been                                nd of the stated term hercof, then Borrower and
                 Lender agree that Lender sha                            promptness after Lender discovers or is advised by
                 Borrower that interest was received in
                                                                 en owing by Borrower to Lender and/or refund such excess
                                            Trower hereby agrees that as a condition precedent to any claim seeking usury
                                             Borrower will provide written notice to Lender, advising Lender in reasonable
                                              ount of the violation, and Lender shall have sixty (60) days after receipt of such
                                             such usury violation, if any, by either refunding such excess interest to Borrower
                                     excess interest against the Indebtedness then owing by Borrower to Lender. All sums


                      g the actuarial method, throughout the stated term of the Note (including any and all renewal and
                 extension periods) until payment in full so that the rate or amount of interest on account of the Indebtedness
                 does not exceed the Maximum Lawful Rate from time to time in effect and applicable to the Indebtedness
                 for so long as debt is outstanding. In no event shall the provisions of Chapter 346 of the Texas Finance
                 Code (which regulates certain revolving credit loan accounts and revolving triparty accounts) apply to the
                 Note or any other part of the Indebtedness. Notwithstanding anything to the contrary contained herein or
                 in any of the other Loan Documents, it is not the intention of Lender to accelerate the maturity of any
                 interest that has not accrued at the time of such acceleration or to collect unearned interest at the time of
                 such acceleration. The terms and provisions of this Section shall control and supersede every other term,
                 covenant or provision contained herein, in any of the other Loan Documents or in any other document or
                 instrument pertaining to the Indebtedness.



                                                                         22
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                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 23 of 28




                 44,      Covenants Running with the Land; Release.            The Obligations contained in this Security
                 Instrument are intended by Borrower, Lender, and Trustee to be, and shall be construed as, covenants
                 running with the Mortgaged Property until the lien of this Security Instrument has been fully released by
                 Lender. If the Indebtedness is paid in full in accordance with the terms of this Security Instrument and the
                 Loan Documents, and if Borrower shall well and truly perform all of the Obligations and Borrower’s
                 covenants contained herein, then this conveyance shall become null and void and the liens hereof shall be
                 released upon Borrower’s request (as approved by Lender) and at Borrower’s expense.
                 45.      PROPERTY INSURANCE DISCLOSURE. TEXAS FINANCE CODE SECTION 307.052
                 COLLATERAL PROTECTION INSURANCE NOTICE: (A) BORROWER IS REQUIRED TO (i)
                 KEEP THE MORTGAGED PROPERTY INSURED AGAINST DAMAGE IN THE AMOUNT
                 SPECIFIED HEREIN; (ii) PURCHASE THE INSURANCE FROM AN INSURER THAT IS
                 AUTHORIZED TO DO BUSINESS IN THE STATE OF TEXAS OR AN ELIGIBLE SURPLUS
                      ES INSURER OR OTHERWISE AS PROVIDED HEREIN: AND (iii) NAME LENDER AS
                     E PERSON TO BE PAID UNDER THE POLICY IN THE EVENT OF A LOSS AS PROVIDED
                          N: (B) SUBJECT TO THE PROVISIONS HEREOF, BORROWER MUST, IF REQUIRED


                                               WER       FAILS     TO MEET ANY REQUIREMENT    LISTED IN THE
                                                      \) OR (B),   LENDER MAY OBTAIN COLLATERAL PROTECTION

                                                                   HIS WRITTEN LOAN AGREEMENT REPRESENTS THE
                 FINAL AGREEMEN                                          RTIES AND MAY NOT BE CONTRADICTED BY
                 EVIDENCE OF PRIOR, CC                                    OUS OR SUBSEQUENT ORAL AGREEMENTS OF
                 THE PARTIES. THERE                                     RIT      ORAL AGREEMENTS BETWEEN THE
                 PARTIES.
RP-2021-391418




                                                                [SIGNATURE




                                                                          23
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                       Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 24 of 28




                                           WHEREOF,       Borrower has executed and delivered this Security Instrument as of the
                 date first writt



                 BORROWER:

                 MONTROSE       MULT]                    BERS, LLC, A TEXAS LIMITED LIABILITY COMPANY



                 By:   Bran Enterprises,                        mited liability company, Manager


                        By:
                              Christopher Bran, Managing Member
RP-2021-391418




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                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 25 of 28




                   A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
                   document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

                 State of    AC                                           )
                             “2,                     5       .
                 County of   puna        i      Atl                       )

                 On 2) LL          & 2     HOA,              before me,


                 Personally Appeared        - # (AW aera
                                                       ol Fhe                       124 “As LT
                                                                     Name(s) of or   (s)
                                                                                                                                              3

                                          n the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
                                         d acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
                                                 nature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)


                                                                                     I certify under PENALTY O PERJURY under the
                                                                                     laws of the State of                  that the
                                                                                     foregoing paragraph is true and correct.

                                                                                     WITNESS my hand\and official seal.

                                              ssior g £ bs
                                   | MY Cornmi
RP-2021-391418




                                                                                                       Signature of Nota? IZ ic




                                                                               25
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                 Deed of Trust | Loan No. 1G2301COM                                                               Borrowers Initials:
                     Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 26 of 28




                                                                EXHIBIT “A”
                                                        LEGAL PROPERTY DESCRIPTION
RP-2021-391418




                                                                    26
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                    Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 27 of 28




                                                             EXHIBIT "A"

                 Order No.:       FAH21009655


                 TRACT I:

                 Lots Sixteen (16), Seventeen (17) and Eighteen (18), in Block Three (3), of Westmoreland, an addition
                 in Harris County, Texas, according to the map or plat thereof, recorded in Volume 2, Page 6 of the Map
                 Records of Harris County, Texas.

                 TRACT II:

                 Lot(s) Eight (8) and Nine (9), in Block Nineteen (19), of Hyde Park, an addition in Harris County, Texas,
                 according to the map or plat thereof recorded in Volume 1A, Page 117, of the Map Records of Harris
                 County, Texas.

                 TRACT Hil:

                 The East 1/2 of the Northwest 1/4th of Block Sixteen (16) of Bute Addition, an addition in Harris
                 County, Texas, according to the map or plat thereof, recorded in Volume 2, Page 19 of the Map Records
                 of Harris County, Texas (consisting of the East 37.5 feet of Lot 2, the adjoining 1/2 of Lot 3, and the
                    joini           f the North             in    sai   k 1
RP-2021-391418
                 Case 22-90323 Document 26-24 Filed in TXSB on 10/18/22 Page 28 of 28




                            RP-2021-391418
                            #   Pages     28
                            07/12/2021          04:53         PM
                            e-Filed       &    e-Recorded            in   the
                            Official          Public         Records      of
                            HARRIS       COUNTY

                            TENESHIA          HUDSPETH
                            COUNTY       CLERK

                            Fees        $122.00
RP-2021-391418




                           RECORDER               O!
                           This instrument w                       received      and recorded electron icall
                           and any blackouts,                      dditions      or changes were prese nt    ¥
                           at   the     time     the        instrument         was   filed   and   recorded.




                                          sion herein which restricts  the sale, ren tal,                      or
                                          e described real property because of colo r or
                                          nvalid and unenforceable under federal  la w.
                                                       IS
                                    eby certify that this instrument was FILED in
                                    Number Sequence on the date and at the times tamped
                                   on by me;  and was_duly RECORDED in the Official
                                   ic Records  of Real Property of Harris County,   Texas.




                                                             Vt tan
                                                             COUNTY CLERK
                                                             HARRIS COUNTY, TEXAS
